Order Form (01/2005)
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                               United States District Court, Northern District of Illinois

     Name of Assigned Judge            David H. Coar           Sitting Judge if Other
        or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                           06 C 1131                         DATE                     10/17/2006
            CASE                                       Prince E. Foryoh vs. Officer Banas
            TITLE

  DOCKET ENTRY TEXT

  Plaintiff’s Motion for leave to file In Forma Pauperis [27] is Denied.




                                                                                                              Docketing to mail notices.




                                                                                        Courtroom Deputy                PAMF
                                                                                                  Initials:




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